                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )   CRIMINAL CASE NO. 3:09-CR-70
                                          )   JUDGES PHILLIPS/GUYTON
DEMETRIUS LAMAR GILMORE                   )


                                        ORDER

              On the petition of the United States of America by James R. Dedrick, United

States Attorney for the Eastern District of Tennessee,

              It is ordered that the Clerk of this Court be and hereby is instructed to issue

a writ of habeas corpus ad prosequendum to the Chief Jailer, Knox County Detention

Facility, 5400 Maloneyville Road, Knoxville, Tennessee, to bring Demetrius Lamar Gilmore

before this Court at Knoxville, Tennessee, on the 30th day of June, 2009, at 10:00 a.m. on

that day, for an initial appearance, or for his case to be otherwise disposed of, and each

day thereafter until said case is disposed of, and immediately thereafter be returned to said

Chief Jailer, Knox County Detention Facility, Knoxville, Tennessee.

              And it is further ordered that in the event the Chief Jailer, Knox County

Detention Facility, so elects, the United States Marshal for the Eastern District of

Tennessee, or any other duly authorized United States Marshal or Deputy United States

Marshal, is directed to receive said Demetrius Lamar Gilmore into his custody and transport

him to and from said Knox County Detention Facility, Knoxville, Tennessee, and this Court

for the aforesaid purpose.

                                          APPROVED FOR ENTRY:

                                               s/ H. Bruce Guyton
                                          United States Magistrate Judge


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